The evidence in this case was ore tenus, and the trial court saw and heard the witnesses, and therefore had an advantage over this court in passing upon the weight and sufficiency of the evidence, and its judgment or decree will not be disturbed unless the same was plainly and palpably contrary to the great weight of evidence. Indeed, the judgment of the court was like unto the verdict of a jury. Hackett v. Cash, 196 Ala. 403,72 So. 52; Finney v. Studebaker Co., 196 Ala. 422, 72 So. 54; Thompson v. Collier, 170 Ala. 469, 54 So. 493; York v. State, 154 Ala. 60, 45 So. 893. This rule also obtains as to decrees in equity as well as judgments at law when the evidence is ore tenus, or partly so. Fitzpatrick v. Stringer, 76 So. 932.1
There was evidence from which the trial court could have reasonably concluded that this claimant not only knew the auto was being used to transport liquor, but was connected with the unlawful act.
The judgment of the circuit court is affirmed.
Affirmed.
SAYRE, GARDNER, and BROWN, JJ., concur.
1 200 Ala. 574.